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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


COALITION FOR HUMANE IMMIGRANT RIGHTS, et
al.,

     Plaintiffs,

     v.                                                            Case No.: 1:25-cv-0872

KRISTI NOEM, in her official capacity as Secretary of
Homeland Security, et al.,

     Defendants.


                           DECLARATION OF MELISSA LIM CHUA

I, Melissa Lim Chua, upon my personal knowledge, hereby declare as follows:

   1. I am over the age of 18 and competent to testify to the facts and matters set forth herein.

   2. I am Co-Director of the Immigrant Protection Unit at the New York Legal Assistance

          Group (NYLAG), and I am an attorney in good standing of the State Bar of New York.

          NYLAG represents one client, D.L.C., who was paroled into the United States after an

          appointment properly made through the CBP One application and was subsequently

          processed for expedited removal. D.L.C. and his mother are both members of CASA.


                                               D.L.C.


   3. D.L.C. is a national of Venezuela who was granted parole on or about May 1, 2024, after

          securing an appointment using the CBP One application to appear at an official port of

          entry. He was 19 years old at the time of entry. That same day, D.L.C. was issued a

          Notice to Appear (NTA), which was docketed with EOIR on May 2, 2024. D.L.C. was
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   subsequently granted an employment authorization document (EAD) pursuant to this

   parole, valid for one year.

4. Upon arriving in the United States, D.L.C. was living with his mother and attending a

   public school focused on supporting English Language Learners. On May 28, 2024,

   D.L.C. filed a timely pro se application for asylum with the immigration court detailing

   his fear of his removal to Venezuela. On October 2, 2024, D.L.C. attended his first master

   calendar hearing with the immigration court. The Immigration Judge scheduled a second

   master calendar hearing for May 21, 2025.

5. On April 11, 2025, D.L.C. received an email informing him that his parole was being

   terminated effective April 18, 2025; on April 18, 2025, D.L.C.’s parole was terminated.

6. Prior to his second hearing with the immigration court, D.L.C. began the process of

   seeking Special Immigrant Juvenile Status (“SIJS”) with the assistance of a pro se clinic

   at the NYC Asylum Seeker Navigation Center, set up by the City of New York to provide

   pro se services to newly arrived New York residents. SIJS is a pathway to lawful

   permanent resident status (LPR) or a “green card” for children who are under 21 years of

   age and have been “abused, neglected or abandoned” by one or more parents. There are

   two general stages in obtaining SIJS: the first is a proceeding in the Family or Surrogates

   Court where the child resides, and the second is an application with the Department of

   Homeland Security (DHS). Upon information and belief, D.L.C. is prima facie eligible

   for SIJS relief because he is: under 21 years old; unmarried; unable to be reunified with

   his father because his father abandoned and neglected him, and his father is deceased, a

   similar basis under New York State law; and it is not in his best interest to return to his

   home country.




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7. On May 21, 2025, D.L.C. and his mother attended his second master calendar hearing pro

   se at the 290 Broadway Immigration Court in New York. D.L.C.’s mother informed me

   that at that hearing, counsel for DHS moved the Court to dismiss D.L.C.’s proceedings,

   despite D.L.C.’s timely-submitted and pending application for asylum. Upon information

   and belief, the Court asked D.L.C.’s mother several questions regarding dismissal, a

   complicated legal procedure that neither D.L.C nor his mother fully understood. Neither

   D.L.C. nor his mother speak English fluently, nor does either have any background in the

   American legal system. At the time of the hearing, D.L.C. and his mother believed

   dismissal would allow D.L.C. to move forward more easily on his SIJS case and that he

   could continue to pursue his application for asylum outside of the court. D.L.C.’s mother

   stated that neither she nor D.L.C. were clearly advised that DHS intended to arrest and

   detain him or that DHS would later attempt to remove him through expedited removal

   procedures upon dismissal of D.L.C.’s immigration court proceedings, nor were they

   advised that dismissal would mean that D.L.C. could no longer pursue his asylum

   application before the immigration court.

8. After D.L.C.’s case was dismissed, D.L.C. and his mother left court, where they were

   followed into the elevator by two men in plain clothes. After leaving the elevator at the

   lobby on the first floor, the two men, who were ICE officers, ordered D.L.C. and his

   mother up against a wall. The officers spoke English, which neither D.L.C. nor his

   mother speak fluently. D.L.C.’s mother believes that the ICE officers said that they had

   an arrest warrant for them, but when she asked to see the warrant, they did not provide

   anything to her. The ICE officers then asked D.L.C. and his mother to present their

   “papers” and D.L.C.’s mother complied. Immediately after she presented their




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   documents, the ICE officers handcuffed D.L.C. Although his mother tried to explain that

   D.L.C. was young and was very ill, the ICE officers detained D.L.C. and put him in a

   vehicle. Although D.L.C.’s mother took video of the arrest, she stopped recording when

   the ICE officers told her that if she continued to resist, she would also be detained. Upon

   information and belief, aside from this May 21, 2025, apprehension by ICE, D.L.C. has

   not had any contact with law enforcement since entering the United States.

9. On May 21, 2025, the same day that D.L.C. was detained, another NYLAG attorney

   observed a number of ICE officers throughout the immigration courts at 26 Federal Plaza

   and 290 Broadway in New York, including in courtrooms. While many of the officers

   were undercover, there were also at least two armed DHS law enforcement officers in

   uniform outside of the buildings. In front of the immigration courts, the NYLAG attorney

   also observed and photographed multiple vehicles marked “DHS police,” as well as a

   number of unmarked vehicles that, upon information and belief, were in use by ICE. At

   290 Broadway, the NYLAG attorney observed the apprehension of a noncitizen, who was

   arrested by plainclothes ICE officers and placed into an unmarked vehicle.

10. Shortly after D.L.C was detained, D.L.C.’s mother was connected with NYLAG’s rapid

   response team, which generally focuses on providing representation to noncitizens who

   have been detained and/or ordered removed following proceedings that do not comport

   with due process. We reached out to ICE Enforcement and Removal Operations (ERO)

   on D.L.C.’s behalf and were informed that D.L.C. would be transferred to an Asylum Pre-

   Screening Officer (APSO) for a CFI on May 22, which we understood to mean that

   D.L.C. had been placed into expedited proceedings. At that time we informed ICE them

   that D.L.C. was not properly subject to expedited removal as he entered on parole and




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   that he had an upcoming hearing in family court for his SIJS application. We did confirm

   that he would receive a credible fear interview (CFI) should they subject him to expedited

   proceedings, as he feared removal to Venezuela. We additionally asked that D.L.C.

   receive a fear screening with respect to El Salvador should the government try to remove

   him to that country instead of to Venezuela.

11. We additionally informed ICE that D.L.C. suffered from a chronic medical condition that

   required treatment. A few months after arriving in the United States, D.L.C. began

   experiencing serious health issues. Specifically, D.L.C. suffers from persistent fevers and

   gastrointestinal issues, leading him to seek medical treatment repeatedly from the Sun

   River Health Center. Unable to determine the cause of his symptoms, the health center

   referred him to New York Blood and Cancer Specialists for follow-up visits with an

   oncologist and hematologist. At the time of his detention by U.S. Immigration and

   Customs Enforcement, D.L.C. was being assessed for the cause of his ongoing

   symptoms. Since being detained, D.L.C. received a diagnosis from these outside

   specialists that may be life threatening or lead to significant morbidity if not treated

   properly.

12. Had D.L.C. or his mother been aware of the ramifications of dismissal, they would have

   vigorously opposed dismissal of proceedings. D.L.C.’s mother reported that she and

   D.L.C. did try to change their pleading regarding dismissal, because they became

   concerned about their decision towards the end of the hearing, but D.L.C.’s mother is

   unsure if that was translated from Spanish to English for the Court. D.L.C.’s mother

   informed me that there was a man in the courtroom observing their proceedings whom

   she did not recognize. On May 29, 2025, we requested a copy of the “Digital Audio




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   Recording” (DAR) via a Freedom of Information Act Request (FOIA) and on May 30,

   2025, we requested a copy of the DAR via the court’s system to retrieve the Record of

   Proceedings (ROP). We were first provided with a copy of the DAR today, June 10, 2025.

13. NYLAG’s immigration unit handles hundreds of removal cases a year and we have not

   previously seen DHS move to dismiss removal proceedings to pursue expedited removal,

   let alone processing a person paroled into the country for removal through expedited

   removal.

14. Although NYLAG began the process of reaching out to D.L.C. on May 21, 2025, because

   of D.LC.’s movement between facilities, we were unable to make contact with him until

   the morning of May 28, 2025. Initially, upon information and belief, D.L.C. believed that

   he would be sent to a detention center in New Jersey. When D.L.C. appeared in the ICE

   detainee locator on May 22, 2025, the locator indicated that D.L.C. had been detained at

   the Elizabeth Contract Detention Center in Elizabeth, New Jersey. That same day,

   NYLAG attorneys were informed by ERO that D.L.C. was not at Elizabeth, but at the

   Orange County Jail (OCJ), in Goshen, New York. When NYLAG attorneys called OCJ,

   they were informed by OCJ staff that D.L.C. was not in fact detained there. The evening

   of May 22, 2025, D.L.C. was then moved to the Port Isabel Detention Center (Port

   Isabel) in Los Fresnos, Texas. That same day, NYLAG attorneys set up a call for

   Tuesday, May 27, 2025, the first available attorney visit that was available. However, on

   the evening of May 24, 2025, D.L.C. called his mother, indicating that he had been

   moved to the Alexandria Staging Facility in Alexandria, Louisiana. On the morning of

   May 25, 2025, a NYLAG attorney reached out to ERO to confirm D.L.C.’s whereabouts,

   as the detainee locator on the morning of May 25, 2025, still indicated that D.L.C. was at




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   Port Isabel. That same day, ERO sent an email to the NYLAG attorney indicating that

   D.L.C. was at the Moshannon Valley Correctional Center (Moshannon) in Pennsylvania.

   However, soon after the email from ERO, D.L.C. called his mother and informed her that

   he was, in fact, still in Alexandria. The NYLAG attorney wrote another email to ERO,

   again asking them to clarify his location, and was informed that D.L.C. was not actually

   in Moshannon yet but would be transferred from Alexandria to Moshannon via airplane

   later in the day on May 25, 2025. ERO then informed the NYLAG attorney that they

   would have to contact Moshannon in order to set up an attorney visit with D.L.C. As of

   7:00 am on May 26, 2025, the ICE detainee locator listed D.L.C. as being held in

   Alexandria. Around that time, D.L.C.’s mother called a NYLAG attorney to relay that

   D.L.C. had called from Moshannon. Following that phone call, a NYLAG attorney

   emailed ERO in Moshannon to confirm his location. ERO emailed saying that D.L.C. had

   never been detained at Moshannon. Having received the message from D.L.C.’s mother

   relaying that D.L.C. had called from Moshannon, the NYLAG attorney emailed ERO

   again to ask again where D.L.C. was being held. As of 11:00 am on May 26, 2025,

   D.L.C. was still listed as being at Alexandria, notwithstanding having called his mother

   from Moshannon. It was not until May 27, 2025, at approximately 10:27am that we

   confirmed by contacting Moshannon directly that D.L.C. was, in fact, at that facility.

   Because of transit, NYLAG was not able to make contact with D.L.C. until the morning

   of Tuesday, May 28, 2025, the earliest available appointment.

15. Upon information and belief, prior to NYLAG’s first contact with D.L.C. on May 28,

   2025, D.L.C. had asked officials for an attorney to be present at his CFI but was told that

   he would have to proceed with his CFI on whatever date they provided him, with or




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   without an attorney. It can take many days to schedule a legal call when a non-citizen is

   transferred to a new detention facility, and D.L.C.’s constant transfers between facilities

   have made it impossible to date to make contact with him to represent or even prepare

   him for his CFI.

16. On May 29, 2025, D.L.C. had his CFI. NYLAG was only made aware of the CFI through

   D.L.C.’s mother one hour before the interview. Upon learning about the imminent

   interview, we contacted APSO with a Form G-28 indicating that we were representing

   D.L.C. and asked to be called into the interview. At approximately 8:30 am, counsel was

   contacted by APSO and allowed to represent D.L.C. during the interview.

17. On May 30, 2025, NYLAG attorneys and D.L.C.’s mother appeared at a scheduled Bronx

   Family Court hearing in connection with his request for SIJC. Although the Department

   of Homeland Security (DHS) did not make him available for this previously scheduled

   court hearing, even virtually, the Bronx Family Court referee granted the guardianship

   and special findings orders necessary for D.L.C. to qualify for SIJS. NYLAG filed

   D.L.C.’s application for SIJS on Form I-360 with U.S. Citizenship and Immigration

   Services on Tuesday, June 3, 2025.

18. On June 1, 2025, D.L.C. was served with a new Notice to Appear (NTA), indicating that

   he had passed his CFI. Attached to the NTA was the Notice and Order of Expedited

   Removal on Form I-860, signed on May 21, 2025, the day of the dismissal of D.L.C.’s

   hearing. Attached as Exhibits A and B to this declaration are, respectively, true and

   correct copies of D.L.C.’s second Notice to Appear and Form I-860, with all personally

   identifiable information redacted. Prior to that date, we had not received copies of the

   Form I-860, despite having asked ERO for them.




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19. D.L.C. has suffered serious harm from being subjected to expedited removal proceedings.

   First, as a result of DHS’s decision to end D.L.C.’s immigration court proceedings and to

   instead process him through expedited removal, D.L.C. was placed great at risk of losing

   his ability to pursue SIJS, an important form of relief from removal. D.L.C. would have

   been unable to seek this relief had he been expeditiously removed to Venezuela and the

   only want he was able to avoid such a removal was by separately establishing that he has

   a credible fear of persecution in Venezuela; had he not had a strong claim for asylum, he

   would not have been returned to ordinary immigration court proceedings and his

   eligibility for SIJS relief would have provided no opportunity to slow down the removal

   process for him to pursue that relief.

20. Additionally, D.L.C.’s detention resulting from DHS’s decision to process him for

   expedited removal means he will not be able to obtain the medical intervention necessary

   to treat his newly diagnosed condition. As a result, his health is likely to deteriorate,

   making it extremely difficult to pursue an asylum case, and potentially exposing him to

   significant morbidity and/or death.

21. Finally, D.L.C. is young—only 20 years old—and he is already feeling extremely scared

   and hopeless at the fact that he has been jailed and moved far from family, school, and

   support. He has had ongoing headaches and is unlikely to be able to receive the treatment

   necessary for his medical condition. Moreover, as evidenced by the difficulty NYLAG

   attorneys have had communicating with D.L.C., continuing to subject him to detention as

   a result of the decision to dismiss his first removal proceedings and pursue expedited

   removal will make it extremely difficult for him to access counsel and properly present




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       his claims, increasing the risk that he will be removed to a country where he faces the

       threat of persecution without the meaningful opportunity to have his cases adjudicated.

   22. It is not feasible for D.L.C. to prepare his own signed declaration, because he is in

       immigration detention and we are only able to speak with him occasionally by phone.




     I declare under penalty of perjury and under the laws of the United States that the foregoing
is true and correct to the best of my knowledge.


                                              Executed in New York, New York on June 11, 2025.


                                                            _______________________________
                                                                     Melissa Lim Chua




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                      EXHIBIT A




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                      EXHIBIT B




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